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ELLEN PATTERSON, ESQ.
EMAIL: EP@LKLSG.COM
DIRECT LINE: 305.722.8996

February 8, 2023

ATTORNEY-CLIENT COMMUNICATION: THIS DOCUMENT AND ITS CONTENTS
CONSTITUTE LEGALLY PRIVILEGED INFORMATION

Perland Title & Escrow Services Corp.
Judith M. Peraza, LL.M. Senior Title Agent
9100 S. Dadeland Blvd., Suite 500

Miami, FL 33156

Email: judy@perlandtitle.com

NEW CLIENT RETAINER LETTER/RETENTION AGREEMENT

Re: _Interpleader of Deposit from cancelled Contract for Sale and Purchase of
1643 Brickell Ave., Unit 2101, Miami, FL 33129, between Autonomy
Investment Puerto Rico, LLC, as Seller and Ulla Holding, Inc., as Buyer

Dear Ms. Peraza:

This letter shall confirm the terms of the retention of Levine Kellogg Lehman Schneider +
Grossman LLP (the “Firm”) by you to represent you and/or your title company, Perland Title &
Escrow Services Corp. (“‘Perland Title”) (hereinafter collectively the “Client” or “you”), and to
provide you with legal advice, counsel and assistance in connection with the filing, administration
and/or litigation of an interpleader action, seeking to deposit funds from a failed real estate
transaction into the court registry. More specifically, based on our communications, I understand
that your office was to serve as closing agent for Ulla Holding, Inc.’s purchase of the real property
located at 1643 Brickell Ave., Unit 2101, Miami, FL 33129 from Autonomy Investment Puerto
Rico, LLC. However, a dispute arose between the Buyer and the Seller, and the transaction did
not close. The parties are now disputing who should receive the $100,000 deposit being held by
Perland Title. Perland Title wishes to remove the funds from its trust/escrow account and deposit
same into the court registry, pending the court’s determination of which party should receive the
deposit.

Client Availability
In order to properly represent you, you agree to keep the Firm advised of your current
telephone numbers and e-mail addresses. You also agree to provide your mailing addresses.

Fee Determination
In consideration for the Firm representing you, you have agreed to pay the Firm’s
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attorneys’ fees based on the time expended by the lawyers and paralegals of the Firm on your
matter. I have agreed to assist with the above-described matter for a flat fee of $3,500, plus
costs/expenses. However, if and should the matter become contested, services would proceed
from that point forward based on an hourly fee of $350.00/hour. The good news is that case law
supports your recovery of fees and costs for the interpleader from the funds at issue.

I will have principal responsibility for representing you, but I may work with other
attorneys and paralegals of the Firm on your case, depending on need. Attached is a list of the
Partners, Associates, Of Counsel and Paralegals of the Firm and their current hourly rates. At the
beginning of each year, the Firm reviews the hourly rates it charges for legal services by the Firm’s
attorneys and paralegals and the Firm increases the hourly rates for many of its attorneys and
paralegals at that time. However, as agreed, you will be charged a flat fee, regardless of any
assistance that may be provided by other attorneys or paralegals of the firm.

In retaining the Firm, you also agree to pay the Firm's expenses incurred in connection
with the Firm rendering legal services to you. Such expenses may include filing fees (filing
fee estimated between $395-$410), recording fees, service of process charges, certified copy fees,
photocopying expenses, staff overtime, when needed, courier service fees, postage, title searches,
transcripts, Westlaw online legal research expenses, court fees, expert’s and consultant’s fees and
expenses, incoming facsimiles, e-discovery charges and/or travel expenses, ifany. In many cases,
these expenses are simply advanced by the Firm, but charged by third parties over whom the Firm
has no control and in which the Firm has no interest. Indeed, if requested by the Firm, you agree
to make prompt direct payment to the vendor for such expenses and not require the Firm to advance
payment on your behalf.

Billing and Invoices
The Firm's attorneys’ fees and expenses will be billed to you each month and the Firm’s
statements shall contain a description of the time expended by each attorney and paralegal of the
Firm, a description of the services rendered by each attorney and paralegal of the Firm, and an
itemized list of the expenses incurred by the Firm. Payment in full of the Firm’s statements for
legal services is due when the statement is received by you.

Should the Firm request that you pay it additional retainer funds, upon such request, you
agree to promptly advance such additional retainer funds to the Firm and all retainer funds
advanced may be deposited by the Firm in its general operating account and need not be held in
the Firm’s trust account. Ifthe Firm requests that you advance additional retainer funds and you
fail to promptly advance additional funds as requested by the Firm, or if you fail to timely pay the
Firm’s statements, then after reasonable written notice to you, the Firm shall have the right to
terminate its representation of you, including withdrawing as counsel for you in any legal

LEVINE KELLOGG LEHMAN SCHNEIDER + GROSSMAN LLP

Miami Office: Orlando Office:
Miami Tower 1077 Windsong Road
100 SE 2™ Street, Suite 3600 Orlando, FL 32809 \

Miami, Florida 33131 x
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proceeding in which the Firm represents you. In the event of such default in payment, the Firm
shall have the right to apply any retainer funds against any amounts due by you to the Firm, without
prejudice to the right of the Firm to withdraw from representation of you and seek payment of any
amounts due.

Upon termination of the employment of the Firm, you agree to pay the Firm’s unpaid
attorneys’ fees and expenses to the date of termination. If, after termination of employment of
the Firm, you still owe attorneys’ fees and expenses to the Firm, and the Firm must resort to its
legal remedies to collect such fees and expenses, then you agree that the prevailing party in any
such action shall be entitled to recover from the non-prevailing party the prevailing party's
reasonable attorneys’ fees and expenses. You agree that if, during the course of the Firm’s
representation of you, the Firm recovers and is in possession of the Client’s money or other
property, the Firm shall have a charging lien on such money and property to pay the Firm’s unpaid
attorneys’ fees and expenses and, after reasonable notice to you, may apply Client money in the
Firm’s possession for payment of the Firm’s unpaid attorneys’ fees and expenses.

The Firm shall have no responsibility or liability in case of failure or suspension of the
financial institution holding the Client’s funds in the Firm’s trust account. The Firm maintains its
trust accounts at Amerant. If the Client prefers the Firm deposit Client’s funds in a different
financial institution, Client shall notify the Firm in writing of the Client’s preferred financial
institution.

Conflicts and Waiver

Because of the Firm’s size, the Firm may be asked to represent someone whose interests
may be adverse to you. The Firm is accepting this engagement on the understanding that our
representation of you will not preclude the Firm from accepting any other engagement from any
existing or new client that is unrelated to this assignment. You consent to the Firm representing
another client if such representation is adverse to the interests of the Client provided that (i) the
representation will not adversely affect the Firm’s responsibilities to and relationship with the
Client and the other client, (ii) such engagement is not substantially related to the subject matter
of any services we are providing to the Client, and (iii) in accepting such other engagement, we
would not impair the confidentiality of proprietary, sensitive or otherwise confidential
communications the Client has made to us.

Documentation and Information
Unless requested by the Firm, do not send the Firm original Client documents; only send
copies of documents to the Firm. At the conclusion of your matter, the Firm will send you all
original documents, if any, in the Firm’s possession. The Firm will provide you with written
notification to pick up all of Client’s documents related to your concluded matter, including all
documents prepared or recovered during the Firm’s representation of client, within a certain period

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of time, usually thirty days, or the Firm will destroy its files, including Client documents, on your
concluded matter. The Firm may destroy its files on your concluded matters if you fail to timely
respond to the foregoing notification.

Acknowledgement

You agree and understand that this retainer agreement represents the entire agreement
between you, as the Client, and the Firm regarding the Firm’s representation of you. Ifthe Client
wants to retain the Firm for representation in matters other than those described above, the Firm
and the Client must reach an additional agreement regarding such new representation. Please
contact me at (305)722-8996 with any questions you may have regarding this agreement or any
other matter; otherwise, please indicate your acceptance of the foregoing by signing and dating a
copy of this letter below and returning the signed and dated copy of this letter to me.

I look forward to assisting you with this matter.
Yours truly,

LEVINE KELLOGG LEHMAN SCHNEIDER
+ GROSSMAN, LLP

/ of Olen Pallerson

Ellen Patterson, Esq.

Receipt and Acceptance of Retainer Letter/Retention Agreement

I acknowledge and accept the terffis of this retainer letter.

Judith Peraza, individually and as authorized agent for Perland Title & Escrow Corp.

Address: 4/00 S Pave Law! Pluck Sui te s0O
Mad, FL 34/56 / .

Cell Phone Number. 706 2iIO BS 40 — OLF 305 SYb 78 80

Email Address: JUOY @ feadmwd fotle. Co:

Date. Z [/o/23'

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Levine Kellogg Lehman Schneider + Grossman LLP

2023 Billing Rates

PARTNERS RATES
E. BOHANNON 620.00
M. DIAZ-CORTES 565.00
S. GROSSMAN 845.00
J. KELLOGG 845.00
L. KELLOGG 985.00
J. LIMA 775.00
M. McGUANE 650.00
E. PATTERSON 775.00
V. PETRESCU 650.00
J. SCHNEIDER 970.00
B. SOUCY 635.00
S. TRABAND 870.00
V. WILSON 620.00
ASSOCIATES RATES
G. LIEVANO 505.00
P. SITARAS 410.00
OF COUNSEL RATES
T. LEHMAN 970.00
D. LEVINE 970.00
PARALEGALS RATES
A. SALAZAR 360.00
